                        IN THE UNITED STATES DISTRICT COURT

                      FOR THE SOUTHERN DISTRICT OF ILLINOIS


JOSEPH SANDERS,                                  )
                                                 )
               Petitioner/Defendant,             )
                                                 )      CIVIL NO. 07-cv-792-JPG
vs.                                              )
                                                 )      CRIMINAL NO. 04-cr-40030
UNITED STATES of AMERICA ,                       )
                                                 )
               Respondent/Plaintiff.             )


                                 MEMORANDUM AND ORDER

GILBERT, District Judge:

       This matter is before the Court on Petitioner’s motion for relief pursuant to 28 U.S.C. § 2255.

On September 27, 2005, Petitioner was found guilty, after a bench trial, of possessing a makeshift

knife - a prohibited item - while incarcerated in violation of 18 U.S.C. § 1791(a)(2). On March 15,

2006, Petitioner was sentenced to 60 months imprisonment, 3 years supervised release, and a special

assessment of $100.00. On November 9, 2007, Petitioner filed the instant motion under § 2255.

       In his motion the Petitioner raises four grounds for relief: (1) that his attorney failed to follow

Petitioner’s instructions and he was denied a preliminary hearing; (2) that his fourth amendment

rights were violated with respect to his arrest; (3) that the Court erroneously determined that he was

a career offender; and (4) that an exculpatory video recording was tampered by having the sound

erased or removed .

       The Court ORDERS the Government to file a response to Petitioner’s motion within
THIRTY (30) DAYS of the date of this Order. The Government shall, as part of its response, attach

all relevant portions of the record.

       IT IS SO ORDERED.

       Dated: December 16, 2008.


                                              s/ J. Phil Gilbert
                                              U. S. District Judge




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